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Debtor Name   Free  Speech Systems LLC
              _______________________________________________________                                22-60043
                                                                                         Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                               
                                                                                                                                     ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                                 
                                                                                                                                     ✔      
                 *** NOTE 1 *** We provide consignment sales services to PQPR and ESG


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                 2,969,200.00
                                                                                                                               $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                              2,594,554.00
                                                                                                        $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                       - $ __________
                                                                                                           2,429,147.00
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                                165,407.00
                                                                                                                            + $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                                3,134,607.00
        Report this figure as the cash on hand at the beginning of the month on your next operating report.                 = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                           778,579.70
                                                                                                                               $ ____________

               (Exhibit E)




Official Form 425C                           Monthly Operating Report for Small Business Under Chapter 11                        page 2
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Debtor Name   Free Speech Systems LLC
              _______________________________________________________                                22-60043
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                         965,302.60
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                          54
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                          45
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                   76,115.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                     1,906,847.20
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                               6,900.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                            811,400.77
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ 2,442,056.00
                                          ____________           –     2,594,554.00
                                                                     $ ____________
                                                                                               =     152,498.00
                                                                                                   $ ____________
    32. Cash receipts
                                        $ 2,494,073.00                 2,429,147.00            =       64,926.00
    33. Cash disbursements                ____________           –   $ ____________                $ ____________

                                          -52,017.00             –     165,407.00              =     217,424.00
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                         2,794,200.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  2,448,825.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                   345,375.00




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                             page 3
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Debtor Name   Free Speech Systems LLC
              _______________________________________________________                            22-60043
                                                                                     Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✔ 39. Bank reconciliation reports for each account.
    

     40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                         page 4


         Print                     Save As...                                                                               Reset
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FORM 425C Exhibit D
Cash Disbursements - CadenceOperations Account 100-8



The Month of January 2024

                    Payee                   Amount         Date

    WEB*HOSTGATOR.COM                             14.95     1/2/2024
    AUTHNET GATEWAY                               15.00     1/2/2024
    MURF.AI                                       78.00     1/2/2024
    ZOOM.US                                      159.48     1/2/2024
    TARGET                                       167.78     1/2/2024
    DIRECTV                                      218.87     1/2/2024
    VULTR BY CONSTAN                             255.84     1/2/2024
    ORKIN                                        280.36     1/2/2024
    THE HOME DEPOT                               337.52     1/2/2024
    Name.com, Inc                                406.91     1/2/2024
    PRIMO WATER                                  589.18     1/2/2024
    PRECISION CAMERA                            1,659.26    1/2/2024
    FREE SPEECH OPS                            20,671.00    1/2/2024
    OFFICE MAX                                    32.42     1/3/2024
    AMAZON                                        43.26     1/3/2024
    THE HOME DEPOT                                45.90     1/3/2024
    OFFICE DEPOT                                 105.94     1/3/2024
    LATHEM TIME CORP                             134.32     1/3/2024
    AMAZON                                       253.76     1/3/2024
    HEB ONLINE #108                              322.52     1/3/2024
    MONGODBCLOUD                                3,862.58    1/3/2024
    AMAZON                                        61.70     1/4/2024
    AMAZON                                        72.13     1/4/2024
    WALGREENS 2650                                85.50     1/4/2024
    AMAZON                                        97.39     1/4/2024
    MARKERTEK VIDEO                              152.51     1/4/2024
    INTUIT                                       213.20     1/4/2024
    H-E-B #091                                   225.50     1/4/2024
    GUITARCENTER.COM                             268.04     1/4/2024
    AMAZON                                       293.43     1/4/2024
    PADDLE.NET                                   360.00     1/4/2024
    ASA CREATIVE SERVICE                         464.85     1/4/2024
    GUITARCENTER.COM                             536.08     1/4/2024
    ACHMA VISB                                  1,031.03    1/4/2024
    ACHMA VISB                                  1,181.63    1/4/2024
    THE HARTFORD                                2,814.00    1/4/2024
    FREE SPEECH OPS                             3,442.35    1/4/2024
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FORM 425C Exhibit D
Cash Disbursements - CadenceOperations Account 100-8



   ALEXANDER JONES                             25,767.15   1/4/2024
   FREE SPEECH OPS                            437,565.62   1/4/2024
   CLOUDFLARE                                       9.77   1/5/2024
   CLOUDFLARE                                     13.75    1/5/2024
   PAYPAL *SKSKIRON                                28.00   1/5/2024
   AMAZON                                          29.85   1/5/2024
   SHELL SERVICE STATION                           36.63   1/5/2024
   HARBOR FREIGHT TOOLS AUSTIN    TX               54.11   1/5/2024
   SHELL SERVICE STATION                           54.90   1/5/2024
   AMAZON                                          56.10   1/5/2024
   WAL Wal-Mart Super                            113.27    1/5/2024
   AMAZON                                        125.87    1/5/2024
   AMAZON                                        206.95    1/5/2024
   SQ                                            439.92    1/5/2024
   FDCSERVERSN                                   555.34    1/5/2024
   NRI*NEW RELIC                                 652.82    1/5/2024
   ASTOUND PWRD BY                              2,679.95   1/5/2024
   SP EDELKRONE '                               3,135.89   1/5/2024
   GODADDY.COM                                      5.32   1/8/2024
   HOBBYLOBBY                                      23.78   1/8/2024
   AMAZON                                          31.36   1/8/2024
   MICHAELS STORES 5114                            58.42   1/8/2024
   AMAZON                                          64.10   1/8/2024
   TRAVIS HE                                       69.26   1/8/2024
   AMAZON                                          77.25   1/8/2024
   WAL Wal-Mart Super                              79.66   1/8/2024
   AMAZON                                        113.27    1/8/2024
   HEB ONLINE #108                               113.58    1/8/2024
   AMAZON                                        211.90    1/8/2024
   WAL Wal-Mart Super                            272.16    1/8/2024
   AMAZON                                        284.89    1/8/2024
   PAYPAL *FLOKINET                              773.00    1/8/2024
   2COCOM*BITDEFEND                             1,549.79   1/8/2024
   ADDSHOPPERS INC                              2,989.00   1/8/2024
   K M STEAM CLEANING                           4,631.78   1/8/2024
   ATLASSIAN                                       51.16   1/9/2024
   AMAZON                                          60.10   1/9/2024
   AMAZON                                         85.27    1/9/2024
   AMAZON                                        147.76    1/9/2024
   H-E-B #091                                    151.61    1/9/2024
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FORM 425C Exhibit D
Cash Disbursements - CadenceOperations Account 100-8



   AMAZON                                        454.32     1/9/2024
   IN ASA CREATIVE SERVICE                       524.89     1/9/2024
   FEDX                                            30.00   1/10/2024
   AMAZON                                          31.00   1/10/2024
   HEB ONLINE #108                                 74.49   1/10/2024
   ONE HORN TRANSPORTATION                      1,550.00   1/10/2024
   ONE HORN TRANSPORTATION                      1,874.26   1/10/2024
   ONE HORN TRANSPORTATION                      2,704.33   1/10/2024
   WAL Wal-Mart Super                            156.23    1/11/2024
   INTUIT                                        213.20    1/11/2024
   WIZARD LABELS                                 430.03    1/11/2024
   VERIZON WIRELESS                             1,031.03   1/11/2024
   VERIZON WIRELESS                             1,181.63   1/11/2024
   SECURITY BANK OF CRAWFORD                    2,196.25   1/11/2024
   DELL BUS                                     2,898.93   1/11/2024
   FREE SPEECH OPS                             18,717.20   1/11/2024
   ALEXANDER JONES                             33,269.14   1/11/2024
   FREE SPEECH OPS                            101,329.23   1/11/2024
   AMAZON                                          37.49   1/12/2024
   EVILMADSCIENTIST                              628.65    1/12/2024
   H-E-B #091                                   1,844.64   1/12/2024
   HARTFORD INS.                                2,814.00   1/12/2024
   THE HARTFORD                                 2,814.00   1/12/2024
   FREE SPEECH OPS                            252,271.88   1/12/2024
   WEB*HOSTGATOR.COM                              17.05    1/16/2024
   AMAZON                                         20.73    1/16/2024
   AMAZON                                         23.76    1/16/2024
   AMAZON                                         37.88    1/16/2024
   GROKABILITY:                                   39.99    1/16/2024
   SPECTRUM                                      125.73    1/16/2024
   AMAZON                                        134.05    1/16/2024
   AMAZON                                        155.78    1/16/2024
   TARGET                                        162.36    1/16/2024
   BACKBLAZE.COM                                 164.49    1/16/2024
   GOOGLE *FIBER                                 239.94    1/16/2024
   NRI*NEW RELIC                                 266.50    1/16/2024
   WAL Wal-Mart Super                            267.59    1/16/2024
   HEB ONLINE #108                               366.36    1/16/2024
   AMAZON                                        409.90    1/16/2024
   FDCSERVERSN                                   571.19    1/16/2024
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FORM 425C Exhibit D
Cash Disbursements - CadenceOperations Account 100-8



   THE RANGE AT AUSTIN                          1,185.25   1/16/2024
   DDA CHECK                                   11,646.27   1/16/2024
   DDA CHECK                                   66,032.60   1/16/2024
   AMAZON                                          16.18   1/17/2024
   AMAZON                                          68.02   1/17/2024
   AMAZON                                        164.14    1/17/2024
   CGI*CANVAS                                    200.48    1/17/2024
   AMAZON                                        240.24    1/17/2024
   AMAZON                                        271.68    1/17/2024
   AMAZON                                        309.34    1/17/2024
   ONE HORN TRANSPORTATION                      1,930.53   1/17/2024
   THE HOME DEPOT                                   2.99   1/18/2024
   THE HOME DEPOT                                   5.98   1/18/2024
   AMAZON                                          87.76   1/18/2024
   Name.com, Inc                                 138.36    1/18/2024
   H-E-B #091                                    184.03    1/18/2024
   B&H PHOTO                                     535.84    1/18/2024
   ONE HORN TRANSPORTATION                       758.08    1/18/2024
   ONE HORN TRANSPORTATION                       991.58    1/18/2024
   EZCATERGUSS WORLD                            1,056.27   1/18/2024
   ALEXANDER JONES                             31,047.83   1/18/2024
   FREE SPEECH OPS                             75,137.50   1/18/2024
   FREE SPEECH OPS                            149,712.64   1/18/2024
   FREE SPEECH OPS                            169,374.84   1/18/2024
   FEDX                                           30.00    1/19/2024
   AMAZON                                         37.22    1/19/2024
   AMAZON                                        281.07    1/19/2024
   ONE HORN TRANSPORTATION                      5,974.00   1/19/2024
   AMAZON                                         20.56    1/22/2024
   AMAZON                                         36.79    1/22/2024
   VERCEL PRO                                     40.00    1/22/2024
   AMAZON                                         76.83    1/22/2024
   H-E-B #373                                     80.24    1/22/2024
   H-E-B #373                                     84.31    1/22/2024
   AMAZON                                        102.82    1/22/2024
   H-E-B #373                                    159.23    1/22/2024
   AMAZON                                        201.94    1/22/2024
   ONLINE STORE SAL                              215.43    1/22/2024
   ONLINE STORE SAL                              215.43    1/22/2024
   ONLINE STORE SAL                              215.43    1/22/2024
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FORM 425C Exhibit D
Cash Disbursements - CadenceOperations Account 100-8



   FDCSERVERSN                                   545.34    1/22/2024
   CLOUDFLARE                                    666.25    1/22/2024
   AWIO WEB SERVICE                              899.00    1/22/2024
   ADOBE INC.                                   4,289.35   1/22/2024
   PRITUNL PREMIUM                                 10.00   1/23/2024
   GITHUB, INC.                                    24.00   1/23/2024
   AMAZON                                        147.20    1/23/2024
   AMAZON                                        147.20    1/23/2024
   TWITTER PAID FEE                              181.44    1/23/2024
   ATT                                           529.93    1/23/2024
   WEBFILE TAX PYMT                             4,801.87   1/23/2024
   B&H PHOTO                                    5,999.17   1/23/2024
   H-E-B #091                                      41.94   1/24/2024
   RUMBLEVIDEO                                   100.00    1/24/2024
   IRON MOUNTAIN                                 244.12    1/24/2024
   PRIMO WATER                                  1,002.67   1/24/2024
   PRECISION CAMERA                             5,149.43   1/24/2024
   AMAZON                                        104.91    1/25/2024
   H-E-B #373                                    110.88    1/25/2024
   AMAZON                                        264.73    1/25/2024
   AMAZON                                        580.67    1/25/2024
   AMAZON                                        580.67    1/25/2024
   SECURITY BANK OF CRAWFORD                    2,196.25   1/25/2024
   FREE SPEECH OPS                              9,237.50   1/25/2024
   ALEXANDER JONES                             22,534.18   1/25/2024
   FREE SPEECH OPS                             50,000.00   1/25/2024
   FREE SPEECH OPS                            387,022.98   1/25/2024
   IONOS INC.                                    198.53    1/26/2024
   B&H PHOTO                                    6,297.87   1/26/2024
   Name.com, Inc                                 104.02    1/29/2024
   WAL Wal-Mart Super                            281.19    1/29/2024
   BKGHOTEL                                      718.68    1/29/2024
   BKGHOTEL                                     2,874.72   1/29/2024
   KEYME LOCKSMITHS                                 5.40   1/30/2024
   PRIMO WATER                                    58.40    1/30/2024
   H-E-B #091                                    131.17    1/30/2024
   HEB ONLINE #108                               330.44    1/30/2024
   ROAD RANGER #270                                27.51   1/31/2024
   ROAD RANGER #270                                34.72   1/31/2024
   SONIC #1956                                     43.45   1/31/2024
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FORM 425C Exhibit D
Cash Disbursements - CadenceOperations Account 100-8



   AMAZON                                         53.45    1/31/2024
   AMAZON                                         76.92    1/31/2024
   MURF.AI                                        78.00    1/31/2024
   AMAZON                                         78.63    1/31/2024
   AMAZON                                         78.63    1/31/2024
   AMAZON                                         78.63    1/31/2024
   AMAZON                                         78.63    1/31/2024
   AMAZON                                         78.63    1/31/2024
   AMAZON                                         78.64    1/31/2024
   AMAZON                                         79.47    1/31/2024
   AMAZON                                         79.47    1/31/2024
   AMAZON                                         79.47    1/31/2024
   AMAZON                                         79.47    1/31/2024
   AMAZON                                         79.47    1/31/2024
   AMAZON                                         79.47    1/31/2024
   AMAZON                                         79.47    1/31/2024
   AMAZON                                         79.47    1/31/2024
   AMAZON                                         79.48    1/31/2024
   AMAZON                                         79.48    1/31/2024
   THE HOME DEPOT                                 85.06    1/31/2024
   AMAZON                                        113.65    1/31/2024
   CHILIS EAGLE PA EAGLE PASS TX                 115.37    1/31/2024
   CHILIS EAGLE PA EAGLE PASS TX                 116.14    1/31/2024
   AMAZON                                        383.14    1/31/2024
   FREE SPEECH OPS                             20,671.00   1/31/2024
   FREE SPEECH OPS                             20,896.00   1/31/2024

                                            2,027,647.37
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FORM 425C Exhibit E
Total Payables


As of January 31, 2024

                         From                                Amount                 Due Date


Trade AP

      Jonathon Wolfe                                              10,500.00      11/07/2023    (a)
      FELIX MEDIA SOLUTIONS INC                                    2,219.30      01/01/2024
      ATX HD                                                      20,671.00      01/23/2024
      David Thomas                                                 1,600.00      01/30/2024
      Leslie Muniz - V                                                  404.19   01/30/2024
      Wes Perkins                                                  1,680.00      01/30/2024
      Dann Miller                                                       119.18   01/31/2024
      Sardius Media LLC                                           53,854.20      01/31/2024
      WWCR, Inc.                                                   1,284.74      01/31/2024
      Austin Security and Investigations                          10,888.87      02/05/2024
      Novasors (Centrinex LLC)                                     8,316.02      02/10/2024
      Lumen                                                       14,932.24      02/23/2024
      Lease Direct                                                      411.32   03/04/2024


                                                                126,881.06


Inventory

      Yellow Emperor                                              93,750.00      12/13/2023    (b)
      Yellow Emperor                                              87,500.00      12/13/2023    (b)
      Hi Tech Pharm                                             204,693.93       12/20/2023    (b)
      Ready Alliance                                              17,388.52      01/31/2024
      Alex Jones - DIP                                            16,545.58      01/31/2024    (c)
      Alex Jones - DIP                                             3,662.68      01/31/2024    (c)
      PQPR David Jones                                            47,723.27      01/31/2024    (c)
      ESG                                                          3,872.07      01/31/2024    (c)
      Paramount Nutra by FLJ Nutra                              118,156.00       02/15/2024    (b)


                                                               593,292.05


Legal / Consulting Fees

      Jackson/Walker                                              32,291.59      12/31/2023
      Melissa Haselden                                            26,115.00      01/31/2024


                                                                 58,406.59




      Total Accounts Payable                                   778,579.70


(a)   Disputed
(b)   Not due till product is ready to ship and has been manufactured
(c)   Weekly sales settlement, paid 2/1
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FORM 425C Exhibit F
Total Receivables

     Free Speech Systems LLC does not have traditional receivables from our customers. Virtually all
     our transactions happen via our on-line store and aggregated by our third party credit card
     processor. There is a lag between the transaction on the on-line store and the funding from
     our processor. Therefore, we don't have traditional customer receivables but have included
     our daily processor deposits that are unpaid as of the end of the month as receivables

As of January 31, 2024

           From                  Amount               Due Date
     Processor T                  68,702.39            1/18/2024
     Processor T                  71,410.34            1/19/2024
     Processor T                  61,038.40            1/20/2024
     Processor T                  55,431.67            1/21/2024
     Processor T                  71,771.88            1/22/2024
     Processor T                  70,094.05            1/23/2024
     Processor T                  75,253.16            1/24/2024
     Processor T                  70,942.57            1/25/2024
     Processor T                  70,064.73            1/26/2024
     Processor T                  52,483.07            1/27/2024
     Processor T                  46,020.11            1/28/2024
     Processor T                  63,800.27            1/29/2024
     Processor T                  89,469.21            1/30/2024
     Processor T                  98,820.75            1/31/2024
                                 965,302.60

FSS switched credit card processors in October in order to reduce our bankcard rate from 7.0% to
5.5%. The settlement period in the new contract is listed as 5-10 business days and it has
been averaging 13 days. The Accounts Receivable balance at month end is trending higher than
previous months. As of the date of this MOR filing, all of the above AR has been collected by FSS.
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                                       AXOS Deposits      AXOS Operating           AXOS Donations       AXOS Payroll         AXOS Infowars           AXOS Legal            CADE Deposits       CADE Operating       CADE Donations         CADE Payroll         CADE Escrow          TOTAL
                                         # 78877              # 78919                 # 78885             # 78927           # 78893 # 77838           # 78901                # 8-099-2           # 8-100-8            # 8-101-6             # 8-102-4            # 8-103-2       All Accounts


January 1 to January 31

     Opening Balance                               -                409.58                    -                    -              85,772.78                    -              2,120,801.71            92,847.40            98,481.21             5,000.00           565,887.38     2,969,200.06

           Cash Receipts                           -                    -                     -                    -                    -                      -              2,574,302.74            16,403.23             3,847.60                  -                    -       2,594,553.57

           Cash Disbursements                      -                    -                     -                    -                    -                      -                       -          (2,027,647.37)                 -            (401,499.67)                 -      (2,429,147.04)

           Net Cash Flow                           -                    -                     -                    -                    -                      -              2,574,302.74        (2,011,244.14)            3,847.60          (401,499.67)                 -        165,406.53

           Transfers In                            -                    -                     -                    -                    -                      -                       -           1,933,529.58                  -             401,499.67                  -       2,335,029.25
           Transfers Out                           -                    -                     -                    -                    -                      -             (2,335,029.25)                 -                    -                    -                    -      (2,335,029.25)

     Cash on Hand                                  -                409.58   (a)              -                    -              85,772.78   (a)              -              2,360,075.20            15,132.84          102,328.81              5,000.00           565,887.38     3,134,606.59



                                (a)   On 10/26 AXOS bank closed our accounts for the second time in 30 days, despite assurances that they would work with FSS to provide an orderly transition. There was some confusion with the InfoWars account #78893 and the InfoW
                                      Account #77838 with the multiple account closures and cashiers checks that were sent to the Austin office. The InfoW address on file with AXOS was to a different office and as of 12/31 we were still working with AXOS bank to
                                      get the closing balance to the correct account. We are not getting cooperation with AXOS Bank and counsel has reached out to AXOS Bank to get it resolved.
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